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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION - DAYTON

 OLWIN METAL FABRICATION, LLC,                   §
                                                 §   Case No. 3:22-CV-00333-WHR-PBS
       Plaintiff,                                §
                                                 §   JUDGE WALTER H. RICE
 v.                                              §
                                                 §   MAGISTRATE JUDGE PETER B.
 MULTICAM, INC.                                  §   SILVAIN, JR.
                                                 §
 and                                             §
                                                 §
 MULTICAM GREAT LAKES, INC.                      §
 D/B/A MULTICAM OHIO VALLEY                      §
 TECHNOLOGY CENTER,                              §
                                                 §
        Defendants.                              §

      DEFENDANT MULTICAM, INC.’S MOTION TO DISMISS PLAINTIFF’S FIRST
            AMENDED COMPLAINT AND MEMORANDUM IN SUPPORT

         Defendant MultiCam, Inc. (“MultiCam”), by and through its attorneys of record,

respectfully requests this Court dismiss the entirety of Plaintiff Olwin Metal Fabrication, LLC’s

(“Olwin”) First Amended Complaint for failure to state a claim upon which relief can be granted

pursuant to Federal Rule of Civil Procedure 12(b)(6). A Memorandum in Support of this Motion

is attached hereto and incorporated herein by reference.




                                    [signature page follows]




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Dated: November 28, 2022            Respectfully submitted,

                                    s/ Kelly E. Mulrane
                                    Kelly E. Mulrane (0088133)
                                    Trial Attorney
                                    BENESCH, FRIEDLANDER,
                                    COPLAN & ARONOFF LLP
                                    41 S. High Street, Suite 2600
                                    Columbus, Ohio 43215
                                    Telephone: 614.223.9300
                                    Facsimile: 216.363.4588
                                    Email: kmulrane@beneschlaw.com

                                    Counsel for Defendant MultiCam, Inc.




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 MEMORANDUM IN SUPPORT OF DEFENDANT MULTICAM, INC.’S MOTION TO
         DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendant MultiCam, Inc. (“MultiCam”), by and through its counsel, hereby moves this
Court pursuant to Federal Rule of Civil Procedure 12(b)(6) for an Order dismissing Plaintiff Olwin
Metal Fabrication, LLC’s (“Olwin”) First Amended Complaint (“Complaint”) for failure to state
a claim upon which relief can be granted. This Motion is based upon the following Memorandum
in Support, and the pleadings and papers on file herein.

                          I.      SUMMARY OF THE ARGUMENT

       In an attempt to seek compensation for an allegedly defective product it purchased, Olwin

filed suit against two corporations—(1) MultiCam, Inc. (“MultiCam”) and (2) MultiCam Great

Lakes Inc. d/b/a MultiCam Ohio Valley Technology Center (“Great Lakes”). But, despite the fact

that MultiCam and Great Lakes are separate entities, Olwin’s Complaint simply refers to them

collectively as “MultiCam.” This “group-pleading” fails to satisfy the Federal Rules’ minimum

pleading requirements and fails to provide MultiCam notice of the allegations against it.

       The Complaint also fails to plausibly allege a breach-of-contract claim, as it solely rests on

conclusory and inadequate allegations. Moreover, Olwin asserts an unjust enrichment claim, which

cannot coexist with its allegations that a valid contract governs the parties’ relationship. Finally,

Olwin asserts two claims—non-acceptance and revocation of acceptance—that are not recognized

causes of action. For these reasons, this Court should dismiss the Complaint.

                                     II.    BACKGROUND

       The Complaint alleges as follows: Olwin is an Ohio limited liability company engaged in

the business of metal fabrication. First Am. Compl., ECF No. 4 at PageID 145–46. MultiCam is a

Texas corporation which manufactures cutting machines for metal products. First Am. Compl.,

ECF No. 4 at PageID 146. Great Lakes is a Michigan corporation which also manufactures cutting

machines for metal products. First Am. Compl., ECF No. 4 at PageID 146.

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       Around November 12, 2021, Olwin began discussions with “MultiCam” regarding Olwin’s

interest in purchasing a metal cutting machine—the ARCOS Series Plasma Machine (the

“Machine”). First Am. Compl., ECF No. 4 at PageID 146. Notably, Olwin does not specify with

which defendant Olwin was discussing the potential purchase.

       Then, on November 17, 2021, “MultiCam” emailed Olwin and provided certain assurances

regarding the Machine’s capabilities. First Am. Compl., ECF No. 4 at PageID 146. Again, Olwin

does not specify which defendant made these alleged assurances.

       The next day, on November 18, 2021, Olwin purchased the Machine from “Defendants.”

First Am. Compl., ECF No. 4 at PageID 147. Once more, Olwin does not identify from which

defendant Olwin purchased the Machine or which defendant received the purchase price funds.

       After the Machine was installed, it did not work as promised. First Am. Compl., ECF No.

4 at PageID 147. This lawsuit followed. On March 15, 2022, Olwin filed suit in Ohio state court

against MultiCam and Great Lakes. MultiCam timely removed the lawsuit to this Court. Not. of

Removal, ECF No. 1. Shortly thereafter, Olwin filed its First Amended Complaint, which is at

issue in this motion. First Am. Compl., ECF No. 4.

       On August 15, 2022, this Court issued an Order to Show Cause regarding federal

jurisdiction over this lawsuit. Order to Show Cause, ECF No. 20. MultiCam informed the Court

that Olwin refused to provide information regarding Olwin’s limited liability company

membership, which would confirm diversity jurisdiction. MultiCam Mot. for Leave, ECF No. 21.

The Court subsequently remanded this matter to state court for the parties to conduct discovery on

the jurisdictional issue. Order, ECF No. 24. In the state court proceedings, Olwin responded to

discovery that confirmed that diversity jurisdiction existed, and MultiCam again removed this

action to this Court. Not. of Removal, ECF No. 1 (dated 11/21/2022).



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                                   III.    LEGAL STANDARD

       A court may dismiss a complaint for “failure to state a claim upon which relief can be

granted” pursuant to Federal Rule of Civil Procedure 12(b)(6). To survive a motion to dismiss

under Rule 12(b)(6), a plaintiff must plead “enough facts to state a claim for relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The plausibility standard is

not akin to a ‘probability requirement,’ but asks for more than a sheer possibility that a defendant

has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). “Factual allegations must

be enough to raise a right to relief above the speculative level . . . on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Twombly, 550 U.S. at 555 (citations

omitted).

       The Court need not credit conclusory allegations or “a formulaic recitation of the elements

of a cause of action.” Id. Therefore, “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice” to survive a motion to dismiss. Iqbal,

556 U.S. at 678. Nor does a complaint suffice if it tenders “naked assertions” devoid of “further

factual enhancement.” Id. To survive a motion to dismiss under Rule 12(b)(6), “even though a

complaint need not contain ‘detailed’ factual allegations, its ‘factual allegations must be enough

to raise a right to relief above the speculative level on the assumption that all the allegations in the

complaint are true.’” Ass’n of Cleveland Fire Fighters v. City of Cleveland, Ohio, 502 F.3d 545,

548 (6th Cir. 2007) (quoting Twombly, 550 U.S. at 555).

       The Court must undertake a gatekeeping role, ensuring that the plaintiff has a plausible

claim before subjecting the defendant to discovery. U.S. v. Doyle, 2022 WL 1186182, at *5 (S.D.

Ohio Apr. 21, 2022). “Discovery, after all, is not designed as a method by which a plaintiff

discovers whether he has a claim, but rather a process for discovering evidence to substantiate

plausibly-stated claims.” Green v. Mason, 504 F. Supp. 3d 813, 827 (S.D. Ohio 2020).

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                          IV.     ARGUMENT AND AUTHORITIES

A.     Olwin’s fraud claim fails to meet the particularity standard under Rule 9(b).

       This Court should dismiss Olwin’s fraud claim because it fails to meet the heightened

pleading requirement under Rule 9(b) of the Federal Rules of Civil Procedure.

       “In complying with Rule 9(b), a plaintiff, at a minimum, must ‘allege the time, place, and

content of the alleged misrepresentation on which he or she relied; the fraudulent scheme; the

fraudulent intent of the defendants; and the injury resulting from the fraud.’” U.S. ex rel. Bledsoe

v. Cmty. Health Sys., Inc., 501 F.3d 493, 504 (6th Cir. 2007) (quoting Coffey v. Foamex L.P., 2

F.3d 157, 161–62 (6th Cir. 1993) (internal punctuation and citations omitted). In other words, a

plaintiff must identify the “‘who, what, when, where, and how’ of the alleged fraud.” Sanderson

v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006) (quoting U.S. ex rel. Thompson v.

Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997)).

       Moreover, Rule 9(b), relating to fraud claims, prohibits a plaintiff from “group pleading”—

sweepingly assigning conduct to a group of defendants without specifying which defendant

committed what conduct. See, e.g., U.S. ex rel. Bledsoe v. Cmty Health Sys., Inc., 342 F.3d 634,

643 (6th Cir. 2003). As a result, “[a] complaint may not rely upon blanket references to acts or

omissions by all of the defendants.” Id. Instead, “each defendant named in the complaint is entitled

to be apprised of the circumstances surrounding the fraudulent conduct with which he individually

stands charged.” Id. The failure to plead fraud or mistake with particularity is treated as a failure

to state a claim under Rule 12(b)(6). B & P Co. v. TLK Fusion Ent., LLC, No. 3:11-CV-276, 2013

WL 693167, at *8 (S.D. Ohio Feb. 26, 2013).

       Here, Olwin fails to plead its fraud claim with particularity because it does not specify

which defendant made the allegedly false representations. Instead, Olwin’s allegations refer to

“Defendants” or “MultiCam,” which leaves the Court—and MultiCam—guessing as to which

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defendant is alleged to have made the misrepresentations. First Am. Compl., ECF No. 4 at PageID

146–47. For example, Olwin alleges:

       •       “Olwin received an email from MultiCam providing specific assurances as to the
               Machine’s capabilities,”

       •       “Relying on the specific representations from MultiCam…” and

       •       “Defendants and their employees and/or agents…made material representations as
               to the capabilities of the Machine….”

First Am. Compl., ECF No. 4 at PageID 146–47, 149 (emphasis added). This is impermissible

group pleading. See U.S. ex rel. Bledsoe, 342 F.3d at 643. MultiCam is entitled to know the precise

allegations of fraud Olwin brings against it. Olwin has failed to do so. Therefore, this Court should

dismiss Olwin’s fraud claim, Count IV of the Complaint.

B.     Olwin’s breach-of-contract claim lacks information to support the basic elements of
       the cause of action.

       This Court should dismiss Olwin’s breach-of-contract claim because Olwin fails to allege

the basic information necessary to establish a probable right to relief against MultiCam for such a

claim. This Court has explained:

       In evaluating breach of contract claims at the Motion to Dismiss stage, the Sixth
       Circuit has observed that it is not merely enough for a non-moving party to allege
       that a contract was breached. Rather, the complaint or counterclaim must provide
       ‘further explanation, including the relevant terms of the . . . agreement, how the
       agreement was breached, and how the breach harmed the [non-moving party].

Doe v. BMG Sports, LLC, No. 1:20-CV-688, 2022 WL 345178, at *11 (S.D. Ohio Feb. 4, 2022)

(quoting Derbabian v. Bank of Am., N.A., 587 F. App’x 949, 954 (6th Cir. 2014)).

       Here, Olwin only alleges that “[t]he foregoing actions and/or inactions of Defendants

constitute material breaches of the Agreement.” First Am. Compl., ECF No. 4 at PageID 148. This

does not satisfy the Federal Rules’ pleading requirements. Olwin has failed to specify which

defendant was a party to the purported contract. Olwin has failed to identify the contractual



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provision at issue. And Olwin has failed to identify how the unidentified defendant breached the

agreement. First Am. Compl., ECF No. 4 at PageID 148. Based upon these incomplete and

conclusory allegations, MultiCam cannot meaningfully defend against these allegations. This

claim, Count I, should be dismissed.

C.     Olwin’s “claims” under the Texas Business & Commerce Code are duplicative of its
       claim for breach of contract.

       This Court should dismiss Olwin’s claims under the Texas Business & Commerce Code

because the “claims” are not causes of action, but instead events that give rise to a claim for breach

of contract.

       Section 2.606 of the Texas Business & Commerce Code reads, in full:

       (a) Acceptance of goods occurs when the buyer

               (1) after a reasonable opportunity to inspect the goods signifies to the seller
               that the goods are conforming or that he will take or retain them in spite of
               their non-conformity; or

               (2) fails to make an effective rejection (Subsection (a) of Section 2.602),
               but such acceptance does not occur until the buyer has had a reasonable
               opportunity to inspect them; or

               (3) does any act inconsistent with the seller’s ownership; but if such act is
               wrongful as against the seller it is an acceptance only if ratified by him.

       (b) Acceptance of a part of any commercial unit is acceptance of that entire unit.

Tex. Bus. & Com. Code § 2.606. Likewise, section 2.608 of the Texas Business & Commerce

Code states:

       (a) The buyer may revoke his acceptance of a lot or commercial unit whose non-
       conformity substantially impairs its value to him if he has accepted it

               (1) on the reasonable assumption that its non-conformity would be cured
               and it has not been seasonably cured; or

               (2) without discovery of such non-conformity if his acceptance was
               reasonably induced either by the difficulty of discovery before acceptance
               or by the seller’s assurances.


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        (b) Revocation of acceptance must occur within a reasonable time after the buyer
        discovers or should have discovered the ground for it and before any substantial
        change in condition of the goods which is not caused by their own defects. It is not
        effective until the buyer notifies the seller of it.

        (c) A buyer who so revokes has the same rights and duties with regard to the goods
        involved as if he had rejected them.

Tex. Bus. & Com. Code § 2.608.

        Neither statute provides for a specific cause of action. This is for good reason. Texas case

law recognizes that the revocation of acceptance or rejection of goods under the Texas Uniform

Commercial Code (“UCC”) is not a separate cause of action, but is instead a component of a

breach-of-contract claim per the Texas UCC. See, e.g., Emerson Elec. Co. v. Am. Permanent Ware

Co., 201 S.W.3d 301, 310 (Tex. App.—Dallas 2006, no pet.) 1; Selectouch Corp. v. Perfect Starch,

Inc., 111 S.W.3d 830, 834 (Tex. App.—Dallas 2003, no pet.) (“A buyer who rightfully rejects the

goods or justifiably revokes his acceptance may recover breach of contract remedies for delivery

of non-conforming goods….”); see also Paul Mueller Co. v. Alcon Laboratories, Inc., 993 S.W.2d

851, 855 (Tex. App.—Fort Worth 1999, no pet.) (citing Tex. Bus. & Com. Code § 2.206) (“Where

acceptance has occurred, a cause of action for breach of contract is available if the buyer’s

acceptance is subsequently revoked.”).

        Here, Olwin has already brought a claim for breach of contract. Its citations to the Texas

Business & Commerce Code are nothing more than elements which comprise a claim already

asserted. Indeed, Texas law does not recognize these provisions as separate causes of actions. This

Court should dismiss Counts II and III of the Complaint for failure to state a claim upon which




1
  “A buyer who rightfully rejects the goods or justifiably revokes his acceptance may recover breach of contract
remedies for delivery of non-conforming goods under section 2.711. In other words, for [plaintiff] to recover on its
breach of contract claim, [plaintiff] had to prove that it either rejected or revoked acceptance of the elements. The
issue was not an independent theory of recovery; it was a component of [plaintiff’s] breach of contract claim and
necessarily referable to it.”) (internal citations omitted) (emphasis added).


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relief can be granted.

D.     Olwin’s unjust enrichment claim is defective.

       Olwin’s claim is defective for multiple reasons. First, unjust enrichment is a quasi-

contractual claim that is based on the absence of an express agreement. Bihn v. Fifth Third Mortg.

Co., 980 F. Supp.2d 892, 905 (S.D. Ohio 2013); see also Vancrest Mgmt. Corp. v. Mullenhour,

140 N.E.3d 1051, 1067–69 (Ohio Ct. App. 2019) (affirming dismissal of unjust enrichment claim

because plaintiff failed to distinguish claim from contract claim). Here, Olwin has not pled the

unjust enrichment argument in the alternative. First Am. Compl., ECF. No. 4 at PageID 150–51.

To the extent a valid agreement governs the relationship between Olwin and MultiCam, this Court

should dismiss Olwin’s unjust enrichment claim, Count V.

       Second, “[t]o state a claim for unjust enrichment in Ohio, [plaintiff] must plausibly allege

that (1) [it] conferred a benefit on [defendant]; (2) [defendant] had knowledge of the benefit; and

(3) the [defendant] retained the benefit under circumstances where it would be unjust to do so

without payment. Jones v. Ohio Nat’l Life Ins. Co., No. 1:20-CV-654, 2022 WL 1128596, at *11

(S.D. Ohio Apr. 15, 2022). Olwin facially fails to allege all elements of an unjust enrichment claim,

as Olwin fails to allege that either defendant had knowledge of the benefit Olwin allegedly

conferred. First Am. Compl., ECF No. 4 at PageID 150.

       Moreover, Olwin’s unjust enrichment claim fails to give adequate notice to support its

cause of action. Rule 8 requires that a complaint provide “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Olwin simply alleges

“MultiCam” or “Defendants” without specifying whether it means MultiCam or Great Lakes

obtained the improper benefit. First Am. Compl., ECF No. 4 at PageID 147, 150. Olwin’s unjust

enrichment claim does not give MultiCam reasonable notice of the circumstances surrounding the

claim and cannot adequately defend itself. This Court should dismiss Count V of the Complaint.

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                                     V.      CONCLUSION

       In its attempt to hold anyone and everyone accountable for Olwin’s dissatisfaction with the

Machine, Olwin fails to plead its lawsuit with the appropriate level of specificity. Moreover, Olwin

asserts “claims” Texas law does not recognize. This Court should dismiss the Complaint as to

MultiCam and award to MultiCam all relief to which it is entitled at law or in equity.


Dated: November 28, 2022                      Respectfully submitted,

                                              s/ Kelly E. Mulrane
                                              Kelly E. Mulrane (0088133)
                                              Trial Attorney
                                              BENESCH, FRIEDLANDER,
                                              COPLAN & ARONOFF LLP
                                              41 S. High Street, Suite 2600
                                              Columbus, Ohio 43215
                                              Telephone: 614.223.9300
                                              Facsimile: 216.363.4588
                                              Email: kmulrane@beneschlaw.com

                                              Counsel for Defendant MultiCam Inc.




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                                CERTIFICATE OF SERVICE

      The undersigned Counsel hereby certifies that, on November 28, 2022, the foregoing was

served on the below-listed counsel via this Court’s ECF system:

Richard L. Carr
David M. Rickert
Lindsay K. Deck
Auman, Mahan & Furry
110 North Main Street, Suite 1000
Dayton, Ohio 45402-1738
rlc@amfdayton.com
dmr@amfdayton.com
lkd@amfdayton.com

Attorneys for Plaintiff

John P. Susany
Kathleen A. Fox
Stark & Knoll Co., LPA
3475 Ridgewood Road
Akron, Ohio 44333
jsusany@stark-knoll.com
kfox@stark-knoll.com

Attorneys for Defendant
MultiCam Great Lakes Inc.

                                                    s/ Kelly E. Mulrane
                                                    Kelly E. Mulrane (0088133)

                                                    Counsel for Defendant MultiCam Inc.




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